        Case 1:17-mj-07219-JCB Document 2-1 Filed 10/31/17 Page 1 of 23


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8QLWHG6WDWHVFXUUHQF\UHFRUGVRIQDUFRWLFVDQGPRQHWDU\WUDQVDFWLRQVGUXJFXVWRPHUOLVWVDQG

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JODVVLQHZUDSSLQJFRQWDLQLQJDKDUGZKLWHFRORUHGVXEVWDQFHFRQVLVWHQWZLWKWKHDSSHDUDQFHRI

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ZLWK6(;721&:OHIWWKH9$0&FDPSXVDQGPHWZLWKODZHQIRUFHPHQWDJHQWV&:UHSRUWHG

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